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 11 (Additional Counsel Listed on Signature Page)
                        UNITED STATES DISTRICT COURT
 12       CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 13 MACOM TECHNOLOGY                          Case No. CV 16-02859 CAS (PLAx)
 14 SOLUTIONS HOLDINGS INC. and
    NITRONEX, LLC,
 15                                           PLAINTIFFS’ STATEMENT OF
                                              UNCONTROVERTED FACTS
 16                                           AND CONCLUSIONS OF LAW IN
                        Plaintiffs,           SUPPORT OF MOTION FOR
 17                                           SUMMARY JUDGMENT ON
            v.                                ESTOPPEL
 18
                                              REDACTED VERSION OF
 19 INFINEON TECHNOLOGIES AG, et              DOCUMENT PROPOSED TO BE
    al.,                                      FILED UNDER SEAL
 20
                 Defendants.
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  1         12.   Infineon AG and Infineon Americas have taken the position, both
  2 during claim construction and otherwise, that at least some of the claims of the
  3 patents identified above are invalid under 35 U.S.C. ¶¶ 102, 103, and/or 112.
  4                               CONCLUSIONS OF LAW
  5 A.      Assignee Estoppel
  6         13.   “Assignee estoppel is an equitable doctrine which, under appropriate
  7 circumstances, bars the assignee of a patent from contesting the validity of the
  8 assigned patent.” Slip Track Sys., Inc. v. Metal Lite, Inc., 113 Fed. Appx. 930, 933
  9 (Fed. Cir. 2004) (unpublished) (citations omitted).
 10         14.   For example, circumstances may warrant application of the doctrine to
 11 prevent an assignee from avoiding royalty payments otherwise due under an
 12 assignment contract by challenging the validity of the assigned patent.” Slip Track
 13 Sys., 113 Fed. Appx. at 933.
 14         15.   Absent assignee estoppel, the buyer of a patent could, unfairly, “obtain
 15 its benefits and control it and refuse to pay the agreed consideration.” Sybron
 16 Transition Corp. v. Nixon, Hargrave, Devans & Doyle, 770 F. Supp. 803, 811
 17 (W.D.N.Y. 1991) (quotation and citations omitted); see Coast Metals, Inc. v. Cape,
 18 78-276, 1979 WL 25083, at *4 (D.N.J. Dec. 24, 1979).
 19         16.   Assignee estoppel is also appropriate where the patent assignee is
 20 enforcing, or has the duty to enforce, the patent. See Diamond Sci. Co. v. Ambico,
 21 Inc., 848 F.2d 1220, 1224 (Fed. Cir. 1988) (“If an assignee of a patent were allowed
 22 to challenge the patent, it could be placed in the legally awkward position of
 23 simultaneously attacking and defending the validity of the same patent.”).
 24         17.   Assignee estoppel applies in the instant case, because it would be
 25 inequitable and unfair to allow Infineon Americas to avoid its obligations to grant
 26 MACOM an exclusive license in the defined field, and to avoid its enforcement
 27 obligation by taking the position that the patents at issue are invalid.
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  1         18.   Assignee estoppel applies to those in privity with the assignee. See
  2 Diamond Sci. Co. v. Ambico, Inc., 848 F.2d 1220, 1225 (Fed. Cir. 1988) (noting, in
  3 case acknowledging the doctrines of assignor and assignee estoppel, that “there are
  4 still circumstances in which the equities of the contractual relationships between the
  5 parties should deprive one party (as well as others in privity with it) of the right to
  6 bring that challenge”); cf. MAG Aerospace Indus., Inc. v. B/E Aerospace, Inc., 2015
  7 WL 12488489, at *4 (C.D. Calif. Jan. 23, 2015) (“[A]ssignor estoppel is an
  8 equitable doctrine that prohibits an assignor of a patent or patent application, or one
  9 in privity with him, from attacking the validity of that patent when he is sued for
 10 infringement by the assignee.”) (emphasis added).
 11         19.    “[P]rivity exists between a parent corporation and its wholly-owned
 12 subsidiary.” Zendel v. Circle Location Servs., Inc., CV1107963SJOCWX, 2012 WL
 13 12877182, at *4 (C.D. Cal. Apr. 5, 2012); see also, e.g., Agha-Khan v. U.S., No.
 14 1:15-CV-00042-AWI, 2015 WL 5734380, at *6 (E.D. Cal. Sept. 29, 2015)
 15 (recognizing parents and subsidiaries as a category of privies); Tuitama v.
 16 Nationstar Mortg. LLC, CV1409956MMMAGRX, 2015 WL 12744269, at *10
 17 (C.D. Cal. Apr. 13, 2015) (finding parent to be in privity with subsidiary); Salessi v.
 18 Cmmw. Land Title Ins. Co., SA CV 08-01274-DOC, 2013 WL 5676209, at *9 (C.D.
 19 Cal. Oct. 16, 2013) (“Privity can be shown through a corporate parent and its
 20 wholly-owned subsidiary.”).
 21         20.   Infineon AG and Infineon Americas are barred by the doctrine of
 22 assignee estoppel from asserting that the patents-at-issue in this litigation are
 23 invalid.
 24 B.      Judicial Estoppel
 25         21.    “Judicial estoppel, sometimes also known as the doctrine of preclusion
 26 of inconsistent positions, precludes a party from gaining an advantage by taking one
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  1 position, and then seeking a second advantage by taking an incompatible position.”
  2 Rissetto v. Plumbers & Steamfitters Local 343, 94 F.3d 597, 600 (9th Cir. 1996).1
  3          22.   The doctrine applies to statements made in administrative proceedings.
  4 Rissetto, 94 F.3d at 604-5 (collecting authorities); see also Trustees in Bankr. of N.
  5 Am. Rubber Thread Co. v. U.S., 593 F.3d 1346, 1354 (Fed. Cir. 2010); Chaveriat v.
  6 Williams Pipe Line Co., 11 F.3d 1420, 1427 (7th Cir. 1993) (“[T]he doctrine has
  7 been applied, rightly in our view, to proceedings in which a party to an
  8 administrative proceeding obtains a favorable order that he seeks to repudiate….”).
  9          23.   Judicial estoppel applies to positions taken before the Patent and
 10 Trademark Office. See Alcohol Monitoring Sys., Inc. v. ActSoft, Inc., No. 07-cv-
 11 02261-PAB, 2011 WL 5075619, at *5 (D. Co. 2011) (“Judicial estoppel could apply
 12 should plaintiff assert a position that is contrary to the positions plaintiff took in
 13 front of the PTO.”); Analog Devices, Inc. v. Linear Tech. Corp., 479 F. Supp. 2d
 14 202, 212 (D. Mass. 2007) (“ADI is estopped from arguing that these two circuits it
 15 said were not obvious for purposes of patentability [to the PTO] are now mere
 16 commercial production details already familiar to those of ordinary skill in the art.”).
 17          24.   The courts apply three factors in determining whether estoppel applies:
 18
               “First, a party’s later position must be ‘clearly inconsistent’ with its
 19           earlier position.” New Hampshire, 532 U.S. at 750, 121 S. Ct. 1808
 20           (citation omitted). “Second, courts regularly inquire whether the
              party has succeeded in persuading a court to accept that party’s
 21           earlier position, so that judicial acceptance of an inconsistent
 22           position in a later proceeding would create ‘the perception that either
              the first or the second court was misled.’” Id. (citation omitted). “A
 23           third consideration is whether the party seeking to assert an
 24           inconsistent position would derive an unfair advantage or impose an
              unfair detriment on the opposing party if not estopped.” Id. at 751,
 25           121 S. Ct. 1808.
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 27       The Federal Circuit, which hears appeals of patent cases, applies the law of the
          regional circuit on judicial estoppel. Lampi Corp. v. Am. Power Prods., Inc., 228
 28       F.3d 1365, 1377 (Fed. Cir. 2000).

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  1 Toyo Tire & Rubber Co. Ltd. v. Hong Kong Tri-Ace Tire Co. (C.D. Cal. 2017).
  2         25.    Judicial estoppel applies in the instant action to applications that
  3 Infineon Americas or its predecessor, International Rectifier, successfully
  4 prosecuted before the Patent and Trademark Office, including the applications that
  5 led to the following patents: No. 8,105,921; No. 8,344,417; No. 8, 592,862; No.
  6 8,928,034; No. 8,937,335; No. 9,461,119; No. 9,437,686; and No. 9,064,775.
  7         26.    Judicial estoppel also extends to those in privity with the party taking
  8 inconsistent positions. Milton H. Greene Archives, Inc. v. Marilyn Monroe LLC,
  9 692 F.3d 983, 996 (9th Cir. 2012) (finding that beneficiaries were in privity with
 10 positions taken by executor and thus were subject to judicial estoppel); Washington
 11 Mut. Inc. v. United States, 636 F.3d 1207, 1216 (9th Cir. 2011) (“Collateral estoppel
 12 applies … against a party that is in privity to a party in previous litigation.”); Steen
 13 v. John Hancock Mut. Life Ins. Co., 106 F.3d 904, 910 (9th Cir. 1997).
 14         27.    Judicial estoppel thus applies to Defendants Infineon Americas and
 15 Infineon Technologies AG with respect to the patents identified above. Neither
 16 Defendant may assert that the patents are invalid.
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